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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

  MIRANDA DALRYMPLE,

         Plaintiff,

  v.                                                       Case No:

  COMENITY BANK,

        Defendant.                                         DEMAND FOR JURY TRIAL
  _____________________________/


        PLAINTIFF’S COMPLAINT WITH INJUNCTIVE RELIEF SOUGHT

         COMES NOW, Plaintiff, MIRANDA DALRYMPLE (“Ms. Dalrymple” or

  “Plaintiff”), by and through the undersigned counsel, and hereby sues and files this

  Complaint and Demand for Jury Trial with Injunctive Relief Sought against Defendant,

  COMENITY BANK (“Defendant”), and in support thereof states as follows:

                                            Introduction

         1.      This action arises out of an alleged “Debt” or “Consumer Debt” as defined

  by Fla. Stat. § 559.55 (6) and Defendant’s violations of the Restrictions on Use of

  Telephone Equipment, 47 U.S.C. § 227 et. seq. (“TCPA”), and the Florida Consumer

  Collection Practices Act, Fla. Stat. § 559.72 et. seq. (“FCCPA”), in attempting to collect

  such Debt by using an automatic telephone dialing system or automated voice or

  prerecorded message to call and text Ms. Dalrymple’s cellular telephone after Ms.

  Dalrymple demanded that Defendant stop calling her cellular telephone, by calling Ms.




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  Dalrymple’s work telephone, and by calling Ms. Dalrymple’s brother’s cellular

  telephone, which can all reasonably be expected to harass Ms. Dalrymple.

                                        Jurisdiction and Venue

          2.      This Court has subject matter jurisdiction over the instant case arising

  under the federal question presented in the TCPA pursuant to 28 U.S.C. § 1331.

          3.      Venue lies in this District pursuant to 28 U.S.C. § 1391 (b) and Fla. Stat. §

  559.77 (1), as a substantial part of the events or omissions giving rise to the claims

  occurred in this judicial district.

                                                 Parties

          4.      Plaintiff, Ms. Dalrymple, was and is a natural person and, at all times

  material hereto, is an adult, a resident of Pinellas County, Florida, and a “debtor” or

  “consumer” as defined by Fla. Stat. § 559.55 (8).

          5.      Ms. Dalrymple is the “called party” as referenced in the TCPA, 47 U.S.C.

  § 227 (b) (1) (A) (iii), for all calls placed to cellular telephone number 843-***-9335

  (“Ms. Dalrymple’s Cellular Telephone”).

          6.      At all times material hereto, Defendant was and is an active bank with its

  principle place of business in the State of Delaware located at One Righter Parkway,

  Suite 100, Wilmington, Delaware 19803.

                                          Statements of Fact

          7.      Ms. Dalrymple opened a Victoria’s Secret credit card account with

  Defendant, which opened a unique account in Ms. Dalrymple’s name (“Account”).




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          8.        Sometime thereafter, Ms. Dalrymple encountered financial difficulties and

  fell behind on her payments towards the Account and incurred an outstanding balance

  owed thereunder (“Debt”).

          9.        Shortly thereafter, Defendant began placing calls and sending text

  messages to Ms. Dalrymple’s Cellular Telephone in attempts to collect the Debt.

          10.       Ms. Dalrymple spoke with Defendant on or around September 26, 2018

  and demanded that Defendant stop calling and texting her Cellular Telephone.

          11.       Despite Ms. Dalrymple’s demand, Defendant continued to place calls and

  send text messages to Ms. Dalrymple’s Cellular Telephone in attempts to collect the

  Debt.

          12.       Defendant would sometimes even call and text Ms. Dalrymple’s Cellular

  Telephone after 9:00 p.m. in attempts to collect the Debt.

          13.       Defendant also called Ms. Dalrymple’s work phone number, 727***6098

  (“Ms. Dalrymple’s Work Phone”), in attempts to collect the Debt.

          14.       Ms. Dalrymple never provided Defendant with written consent to contact

  her employer.

          15.       Defendant even called Ms. Dalrymple’s brother’s cellular phone number,

  813***6665 (“Ms. Dalrymple’s Brother”), in attempts to collect the Debt.

          16.       Ms. Dalrymple never provided Defendant with written consent to contact

  her Brother.

          17.       Defendant has called Ms. Dalrymple’s Cellular Telephone at least thirty

  (30) times during the time period from September of 2018 to the present date.



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         18.      Defendant has texted Ms. Dalrymple’s Cellular Telephone at least thirty

  (30) times during the time period from September of 2018 to the present date.

         19.      Defendant called Ms. Dalrymple’s Cellular Telephone from several

  different telephone numbers, including, but not limited to: 844-271-2550.

         20.      All of Defendant’s calls and text messages to Ms. Dalrymple’s Cellular

  Telephone were placed in an attempt to collect the Debt.

         21.      Defendant has harassed Ms. Dalrymple due to the timing and frequency of

  Defendant’s calls and text messages.

               Count 1: Violation of the Telephone Consumer Protection Act

         22.      Ms. Dalrymple re-alleges paragraphs 1-21 and incorporates the same

  herein by reference.

         23.      The Restrictions on Use of Telephone Equipment provision, 47 U.S.C. §

  227 (b) (1) prohibits any person:

                           (A) to make any call (other than a call made for
                           emergency purposes or made with the prior express
                           consent of the called party) using any automatic
                           telephone dialing system or an artificial prerecorded
                           voice – (iii) to any telephone number assigned to a
                           paging service, cellular telephone service, . . . or
                           any service for which the called party is charged for
                           the call.

         24.      Ms. Dalrymple revoked consent to have Defendant call her Cellular

  Telephone by the use of an automatic telephone dialing system (“ATDS”) or artificial

  voice or prerecorded message in or around September of 2018 when she expressly told

  Defendant to stop calling her.




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         25.      Despite this revocation of consent, Defendant thereafter called Ms.

  Dalrymple’s Cellular Telephone at least thirty (30) times.

         26.      Despite this revocation of consent, Defendant thereafter text messaged

  Ms. Dalrymple’s Cellular Telephone at least thirty (30) times.

         27.      Defendant did not place any emergency calls to Ms. Dalrymple’s Cellular

  Telephone.

         28.      Defendant willfully and knowingly placed non-emergency calls to Ms.

  Dalrymple’s Cellular Telephone.

         29.      Ms. Dalrymple knew that Defendant called Ms. Dalrymple’s Cellular

  Telephone using an ATDS because she heard a pause when she answered at least one of

  the first few calls from Defendant on her cellular telephone before a live representative of

  Defendant came on the line.

         30.      Ms. Dalrymple knew that Defendant called Ms. Dalrymple’s Cellular

  Telephone using a prerecorded voice because Defendant left Ms. Dalrymple at least one

  voicemail using a prerecorded voice.

         31.      Defendant used an ATDS when it placed at least one call to Ms.

  Dalrymple’s Cellular Telephone.

         32.      Under information and belief, Defendant used an ATDS when it placed at

  least ten calls to Ms. Dalrymple’s Cellular Telephone.

         33.      Under information and belief, Defendant used an ATDS when it placed at

  least twenty calls to Ms. Dalrymple’s Cellular Telephone.




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         34.      Under information and belief, Defendant used an ATDS when it placed all

  calls to Ms. Dalrymple’s Cellular Telephone.

         35.      At least one call that Defendant placed to Ms. Dalrymple’s Cellular

  Telephone was made using a telephone dialing system that has the capacity to store

  telephone numbers to be called.

         36.      At least one call that Defendant placed to Ms. Dalrymple’s Cellular

  Telephone was made using a telephone dialing system that has the capacity to produce

  telephone numbers to be called without human intervention.

         37.      At least one call that Defendant placed to Ms. Dalrymple’s Cellular

  Telephone was made using a telephone dialing system that uses a random number

  generator.

         38.      At least one call that Defendant placed to Ms. Dalrymple’s Cellular

  Telephone was made using a telephone dialing system that uses a sequential number

  generator.

         39.      At least one call that Defendant placed to Ms. Dalrymple’s Cellular

  Telephone was made using a prerecorded voice.

         40.      Defendant has recorded at least one conversation with Ms. Dalrymple.

         41.      Defendant has recorded more than one conversation with Ms. Dalrymple.

         42.      Defendant has corporate policies and procedures in place that permit it to

  use an ATDS or artificial voice or prerecorded message to place call individuals to collect

  alleged debts from said individuals, such as Ms. Dalrymple, for its financial gain.




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          43.      Defendant has corporate policies and procedures in place that permit it to

  use an ATDS or artificial voice or prerecorded message, and to place calls to individuals

  using such devices, just as it did to Ms. Dalrymple’s Cellular Telephone, with no way for

  the called party and recipient of the calls to permit, elect, or invoke the removal of the

  called party and recipient of the calls’ cellular telephone number from Defendant’s call

  list.

          44.      The structure of Defendant’s corporate policies and/or procedures permits

  the continuation of calls to individuals like Ms. Dalrymple, despite individuals like Ms.

  Dalrymple revoking any consent that Defendant believes it may have to place such calls.

          45.      Defendant knowingly employs methods and has corporate policies and

  procedures that do not permit the cessation or suppression of calls placed using an ATDS

  to individual’s cellular telephones, like the calls that it placed to Ms. Dalrymple’s

  Cellular Telephone.

          46.      Defendant has corporate policies to abuse and harass consumers like Ms.

  Dalrymple.

          47.      Defendant has been sued in federal court where the allegations include:

  calling an individual using an ATDS after the individual asked for the calls to stop.

          48.      Defendant has been sued in federal court where the allegations include:

  calling an individual using an automated or prerecorded voice after the individual asked

  for the calls to stop.

          49.      Defendant’s phone calls harmed Ms. Dalrymple by causing her

  embarrassment.



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           50.      Defendant’s phone calls harmed Ms. Dalrymple by causing her to lose

  sleep.

           51.      Defendant’s phone calls harmed Ms. Dalrymple by being a nuisance and

  causing her aggravation.

           52.      Defendant’s phone calls harmed Ms. Dalrymple by causing her anxiety.

           53.      All conditions precedent to this action have occurred.

           WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

  against Defendant as follows:

                 a. Awarding statutory damages as provided by 47 U.S.C. § 227 (b) (3) (B),

                    which allows for $500 in damages for each such violation;

                 b. Awarding treble damages pursuant to 47 U.S.C. § 227 (b) (3) (C);

                 c. Awarding Plaintiff costs;

                 d. Ordering an injunction preventing further wrongful contact by the

                    Defendant; and

                 e. Any other and further relief as this Court deems just and equitable.




       Count 2: Violation of the Florida Consumer Collection Practices Act (“FCCPA”)

           54.      Ms. Dalrymple re-alleges paragraphs 1-21 and incorporates the same

  herein by reference.

           55.      Defendant violated the FCCPA. Defendant’s violations include, but are

  not limited to, the following:



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               a. Defendant violated Fla. Stat. § 559.72(4) by calling Ms.

                  Dalrymple’s Work Phone without Ms. Dalrymple’s written

                  consent and before obtaining a final judgment against Ms.

                  Dalrymple.

               b. Defendant violated Fla. Stat. § 559.72(5) by calling Ms.

                  Dalrymple’s Brother and disclosing to a person other than

                  Ms. Dalrymple information affecting Ms. Dalrymple’s

                  reputation, whether or not for credit worthiness, with

                  knowledge or reason to know that the other person does not

                  have a legitimate business need for the information.

               c. Defendant violated Fla. Stat. § 559.72(7) by continuing to

                  call and text Ms. Dalrymple’s Cellular Telephone despite

                  Ms. Dalrymple’s demand that Defendant stop calling and

                  texting her Cellular Telephone, which can reasonably be

                  expected to harass Ms. Dalrymple.

               d. Defendant violated Fla. Stat. § 559.72(17) by calling Ms.

                  Dalrymple’s Cellular Telephone outside of the hours of 8

                  a.m. and 9:00 p.m.

         56.      As a result of the above violations of the FCCPA, Ms. Dalrymple has been

  subjected to unwarranted and illegal collection activities and harassment for which she

  has been damaged.




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            57.      Defendant’s phone calls harmed Ms. Dalrymple by causing her

   embarrassment.

            58.      Defendant’s phone calls harmed Ms. Dalrymple by causing her to lose

   sleep.

            59.      Defendant’s phone calls harmed Ms. Dalrymple by being a nuisance and

   causing her aggravation.

            60.      Defendant’s phone calls harmed Ms. Dalrymple by causing her anxiety.

            61.      It has been necessary for Ms. Dalrymple to retain the undersigned counsel

   to prosecute the instant action, for which she is obligated to pay a reasonable attorney’s

   fee.

            62.      All conditions precedent to this action have occurred.

            WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

   against Defendant as follows:

                     a. Awarding statutory damages as provided by Fla. Stat. § 559.77;

                     b. Awarding actual damages;

                     c. Awarding punitive damages;

                     d. Awarding costs and attorneys’ fees;

                     e. Ordering an injunction preventing further wrongful contact by the

                         Defendant; and

                     f. Any other and further relief as this Court deems just and equitable.




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                                 DEMAND FOR JURY TRIAL

         Plaintiff, Miranda Dalrymple, demands a trial by jury on all issues so triable.

    Respectfully submitted this March 29, 2019,

                                                    /s/ Michael A. Ziegler
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